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                                                                                   E-FILED
                                                      Monday, 06 August, 2018 11:28:34 AM
                                                              Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

KELLI ANDREWS, as          )
Administrator of the Estate of
                           )
Tiffany Ann Rusher, deceased,
                           )
                           )
     Plaintiff,            )
                           )
     v.                    )                   No. 3:18-cv-1101
                           )
BRUCE RAUNER, THE STATE OF )
ILLINOIS, JOHN R. BALDWIN, )
JEFF SIM, HE YUAN, BRIAN   )
RICHARDSON, THE ILLINOIS   )
DEPARTMENT OF CORRECTIONS, )
and WEXFORD HEALTH         )
SOURCES, INC.,             )
                           )
     Defendants.           )

                                    OPINION

SUE E. MYERSCOUGH, U.S. District Judge.

     This cause is before the Court on the Motion to Dismiss

Counts II and III of Plaintiff’s Complaint (d/e 15) filed by

Defendants John R. Baldwin, Bruce Rauner, Illinois Department of

Corrections, and State of Illinois. Because Plaintiff has alleged

plausible claims under the Americans with Disabilities Act and the

Rehabilitation Act of 1973, the Motion to Dismiss is DENIED.



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                          I. JURISDICTION

     This Court has subject matter jurisdiction because Plaintiff’s

causes of action are brought under the Eighth Amendment to the

United States Constitution pursuant to 42 U.S.C. § 1983; the

Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq. (ADA);

and the Rehabilitation Act of 1973, 29 U.S.C. §§ 701 et seq. See 28

U.S.C. ' 1331 (AThe district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of

the United States@). Venue is proper because a substantial part of

the events or omissions giving rise to Plaintiff=s claims occurred in

this district. 28 U.S.C. ' 1391(b)(2).

                        II. LEGAL STANDARD

     A motion under Rule 12(b)(6) challenges the sufficiency of the

complaint. Christensen v. Cnty. of Boone, Ill., 483 F.3d 454, 458

(7th Cir. 2007). To state a claim for relief, a plaintiff need only

provide a short and plain statement of the claim showing she is

entitled to relief and giving the defendants fair notice of the claims.

Tamayo v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008).

     When considering a motion to dismiss under Rule 12(b)(6), the

Court construes the complaint in the light most favorable to the
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plaintiff, accepting all well-pleaded allegations as true and

construing all reasonable inferences in her favor. Id. However, the

complaint must set forth facts that plausibly demonstrate a claim

for relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 547 (2007).

A plausible claim is one that alleges factual content from which the

Court can reasonably infer that the defendants are liable for the

misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Merely reciting the elements of a cause of action or supporting

claims with conclusory statements is insufficient to state a cause of

action. Id.

              III FACTS ALLEGED IN THE COMPLAINT

     The complaint contains the following allegations, which the

Court accepts as true for purposes of the motion to dismiss.

Tamayo, 526 F.3d at 1081.

     Plaintiff, Kelli Andrews, is the administrator of the estate of

her daughter, Tiffany Rusher. Rusher was confined at the Logan

Correctional Center from March 2013 until May 2016.

     The defendants are Bruce Rauner, the Governor of Illinois;

John R. Baldwin, the acting director of the Illinois Department of

Corrections (IDOC); Jeff Sim, the Central Regional Psychologist
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Supervisor of IDOC; the State of Illinois; Wexford Health Services,

Inc.; Dr. He Yuan, the Chief Psychiatrist at Logan Correctional

Center; and Brian Richardson, a mental health professional at the

Logan Correctional Center.

     Sometime in 2013, Rusher was placed in solitary confinement

as the result of a disciplinary infraction. Rusher’s mental health

deteriorated. Plaintiff alleges, on information and belief, that Rusher

had not previously been diagnosed with a mental illness.

     Between October 2013 and May 2015, Rusher made several

attempts to hurt herself, including attempts to strangle herself and

swallowing items like batteries and pens. During this time, Rusher

cycled between the prison’s general population and stints in solitary

confinement as punishment for the acts of self-harm.

     In May 2014, prison staff diagnosed Rusher with a bipolar-I’ve

type shizoaffective disorder, a borderline personality disorder, and

post-traumatic stress disorder. Prison staff determined that Rusher

was at a continued risk of harming herself. The medical

professionals noted the importance of “out of cell time” to engage in

activities like socializing and writing. Rusher was provided with

therapy and group activities to address her mental illness.
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However, Rusher was placed in solitary confinement when she tried

to hurt herself. Her placement in solitary confinement undermined

the limited mental health care she had been receiving.

     In September 2015, after another suicide attempt, Logan

medical staff ordered Rusher be placed on “constant watch” in a

“crisis cell” within the Logan’s Medical Housing Unit. Rusher was

stripped naked and only permitted an anti-suicide smock. All of

her personal property was taken away. A guard was stationed

outside Rusher’s cell 24 hours a day.

     Plaintiff alleges that, while short periods of constant watch are

medically acceptable, extended constant watch is strictly forbidden.

Plaintiff alleges that, instead of trying to secure Rusher effective

mental health treatment—such as transferring Rusher to the

custody of the Illinois Department of Human Services or

transferring Rusher out of Logan for inpatient mental health

treatment—defendants chose to keep Rusher in isolation. Plaintiff

alleges that prisoners suffering from physical illness are transferred

outside of IDOC for medical care.

     Shortly after placing Rusher in a crisis cell, Logan medical

staff identified Rusher as one of only a few dozen patients within
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IDOC whose mental condition was so acute and dangerous that she

required full inpatient level mental health care. Instead of securing

effective mental health care for Rusher, defendants kept her in

isolation. A staff member went to Rusher’s cell once a day and

asked her rote questions through the cell door. Rusher was also

interviewed once a week for 30 minutes by a psychiatrist for

purposes of adjusting the levels of her various medications.

Eventually, in response to pressure from the Rasho v. Baldwin, 07-

cv-1298 (C.D. Ill.)(Mihm, J.) class action lawsuit, Rusher would

occasionally be allowed to leave the crisis cell for 30-minute group

therapy sessions, which occurred no more than once per week.

Prison staff treated the therapy sessions as a privilege, rather than

health care, and would cancel the sessions as punishment if

Rusher tried to harm herself. Rusher made repeated attempts to

harm herself.

     Plaintiff alleges that the defendants knew that allowing Rusher

to be placed in solitary in a crisis cell for a meaningful length of

time would be toxic to her mental health. Plaintiff further alleges

that defendants had the ability to secure appropriate treatment for

Rusher but failed to do so.
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      In May 2016, Rusher’s term of incarceration ended. The

defendants, knowing the damage they inflicted on Rusher, took

steps to have Rusher involuntarily committed to a state psychiatrist

hospital. Rusher did not oppose the petition and her admission

became “voluntary” under state law. Rusher was transferred from

the Logan crisis cell to the McFarland mental health hospital

operated by the Illinois Department of Human Services.

      At McFarland, Rusher was placed in a group setting and

received intensive psychological and psychiatric care. As a result,

her mental health condition improved.1

      In Count I, not at issue in the Motion to Dismiss, Plaintiff

alleges that defendants Rauner, Baldwin, Sim, Yuan, Richardson,

and Wexford were deliberately indifferent to Rusher’s medical

needs. In Counts II and III, Plaintiff alleges that Rauner and

Baldwin, in their official capacities, IDOC, and the State of Illinois



1 Although not alleged in this Complaint, the Court takes judicial notice of the

complaint filed by Plaintiff in Andrews v. Sangamon County, Central District of
Illinois, Springfield Division, Case No. 18-1100, relating to Rusher’s detention
at the Sangamon County Jail. See Olson v. Champaign Cnty., Ill., 784 F.3d
1093, 1096 n.1 (7th Cir. 2015) (a court may take judicial notice of documents
in the public record when ruling on a motion to dismiss under Rule 12(b)(6)).
That complaint alleges that Rusher was accused of battery while a patient at
McFarland, arrested, and taken to the Sangamon County Jail. While there,
Rusher committed suicide and died on March 30, 2017.
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(the State Defendants) violated the ADA and the Rehabilitation Act

by failing to accommodate Rusher’s disability.

     For the ADA and Rehabilitation Act claims, Plaintiff alleges

that the State Defendants failed to provide a reasonable

accommodation for Rusher’s mental illness and discriminated

against her for her mental illness. Specifically, Plaintiff alleges that

Rusher suffered from a mental impairment that substantially

limited one or more major life activities, including, but not limited

to thinking, interacting with others, and controlling her behavior.

As a result of Rusher’s mental disabilities, she required inpatient

psychiatric therapy.

     Plaintiff alleges that the State Defendants failed to reasonably

accommodate Rusher’s disability by failing to provide her access to

inpatient intensive psychiatric treatment. Due to this failure, the

State Defendants deprived Rusher of access to services, programs,

and activities, including education, programming, recreation,

exercise, human interaction, and mental health treatment and

services. In addition, the State Defendants allow prisoners with

physical injuries or illness to receive outside hospitalization but

failed to do so for Rusher because of her mental disability. As a
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result of the State Defendants’ failures, Rusher suffered extreme

mental pain and anguish and physical harm.

     Plaintiff seeks compensatory, punitive, and nominal damages.

She also seeks costs and attorney’s fees.

                            IV. ANALYSIS

     The State Defendants move to dismiss Counts II and III on two

grounds. The State Defendants assert that: (1) allegations of

inadequate treatment for mental health conditions do not give rise

to a viable claim under the ADA or the Rehabilitation Act; and (2)

“access to human contact” is not a program or service under the

ADA or Rehabilitation Act. The State Defendants also move to

dismiss Plaintiff’s request for punitive damages under the ADA and

Rehabilitation Act.

     Title II of the ADA provides that “no qualified individual with a

disability shall, by reason of such disability, be excluded from

participation in or be denied the services, programs, or activities of

a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132. Title II of the ADA applies to state

prisons. Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210 (1998).



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     The Rehabilitation Act similarly provides that “[n]o otherwise

qualified individual with a disability . . . shall, solely by reason of

her or his disability, be excluded from the participation in, be

denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance . . . . “ 29

U.S.C. § 794(a). The State Defendants do not dispute that state

prisons receive federal funds. Mem. at 4-5 (d/e 16).

     Other than some minor differences not relevant here, the ADA

and the Rehabilitation Act are coextensive. CTL ex rel. Trebatoski

v. Ashland Sch. Dist., 743 F.3d 524, 528 (7th Cir. 2014); see also

Washington v. Ind. High Sch. Athletic Ass’n, Inc., 181 F.3d 840,

846 n.6 (7th Cir. 1999) (noting that the chief differences between

the ADA and the Rehabilitation Act are that the Rehabilitation Act

only applies to entities that receive federal funding and requires

that the exclusion be solely by reason of disability). Moreover,

“precedent under one statute typically applies to the other.”

Washington, 181 F.3d at 846 n.6.

     The parties treat the ADA and the Rehabilitation Act claims

together. To state a claim under the ADA and the Rehabilitation

Act, Plaintiff must allege that (1) Rusher is a qualified person with a
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disability, (2) the State Defendants excluded Rusher from

participating in or denied her the benefits of a public entity’s

services, programs, or activities or otherwise discriminated against

her; and (3) the exclusion, denial, or discrimination was by reason

of or because of her disability. See Wagoner v. Lemmon, 778 F.3d

586, 592 (7th Cir. 2015) (identifying separately the elements for a

Title II and Rehabilitation Act claim but describing the elements as

“functionally identical”); Jaros v. Ill. Dep’t of Corr., 684 F.3d 667,

672 (7th Cir. 2012).2 A refusal to reasonably accommodate a

disability is “tantamount to denying access.” Jaros, 694 F.3d at 671

(also noting that the Supreme Court has found a duty to

accommodate in the Rehabilitation Act).




2In Jaros, the Seventh Circuit “dispense[d] with the ADA and the thorny
question of sovereign immunity” and just considered the claim under the
Rehabilitation Act because the plaintiff could only have one recovery. Jaros,
684 F.3d at 672. The “thorny question of sovereign immunity” alludes to fact
that Title II of the ADA abrogates state sovereign immunity only for conduct
that actually violates the Constitution. United States v. Georgia, 546 U.S. 151,
159 (2006); see, e.g., Cunningham v. Falmier, No. 17-cv-126-SMY, 2017 WL
1212067, at *4 (S.D. Ill. Apr. 3, 2017) (because the denial of telephone
privileges did not independently violate the Constitution, the plaintiff could not
pursue a claim for damages against the state under the ADA). Sovereign
immunity does not bar a Rehabilitation Act claim because Illinois waived its
immunity from suits for damages under the Rehabilitation Act as a condition of
receiving federal funds. Jaros, 684 F.3d at 672 n.5.
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     The State Defendants first argue that Plaintiff cannot bring a

claim for inadequate mental health treatment under the ADA and

the Rehabilitation Act. The State Defendants assert that, because

Plaintiff alleged that Rusher received group therapy, met with

psychiatrists on a weekly basis, and received medication, Plaintiff’s

claim is nothing more than a disagreement with Rusher’s course of

mental health treatment.

     The cases cited by the State Defendants involved complaints

that only alleged inadequate medical treatment and did not allege

discrimination or a failure to make a reasonable accommodation.

For example, in Bryant v. Madigan, the Seventh Circuit held that

that ADA is not violated by a prison failing to attend to the needs of

its disabled prisoners. Bryant, 84 F.3d 246, 249 (7th Cir. 1996)

(“The ADA does not create a remedy for medical malpractice.”). The

Seventh Circuit noted that the plaintiff did not allege that he was

excluded from some service, program, or activity but only

complained about incompetent treatment for his paraplegia. Id.

     Similarly, in In re Estate of Crandall v. Godinez, No. 14-cv-

1401, 2015 WL 1539017 (C.D. Ill. Mar. 31, 2015), the court held

that the plaintiff had not pleaded an ADA claim because he only
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challenged the adequacy of the medical services the decedent

received. The plaintiff did not allege that the decedent was subject

to discrimination or failed to receive services that other inmates

received. Id. at *6. The court drew a distinction between a claim

that a prisoner was not properly treated for his mental illness—

which did not state a claim under the ADA—and a claim that the

prisoner was denied access to medical services—which would state

a claim. In addition, the court found that the plaintiff had not

alleged that the decedent was placed in segregation because of his

disability or for reasons related to his disability and instead alleged

that the defendant had a legitimate, not-discriminatory reason for

the placement. Id. at 7 (noting the complaint alleged the decedent

was placed in segregation because of an investigation regarding

theft of another prisoner’s funds). Id.; see also Corbin v. Indiana,

No. 3:16CV602-PPS/MGG, 2018 WL 1920711, at *4 (N.D. Ind. Apr.

23, 2018) (finding the plaintiff stated a claim where he alleged he

was placed in segregated housing because of his disability, that he

was denied a service covered by the ADA and Rehabilitation Act due

to that segregation, and that the States’ conduct was intentional,

willful, and wanton).
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     In this case, Plaintiff alleges that the State Defendants

discriminated against Rusher by denying her access to

hospitalization outside of the prison but allowed prisoners with

physical injuries or illnesses to receive outside hospitalization.

Compl. ¶¶ 25(c), 52, 53, 61. Plaintiff also alleges that the State

Defendants placed her in solitary confinement because of her

mental disability, which removed her from access to services,

programs, and activities. Id. ¶¶ 54, 55, 64. This is sufficient to

state a claim under the ADA and the Rehabilitation Act.

     The State Defendants also move to dismiss Counts II and III

on the ground that “access to human interaction” is not a service,

program, or activity under the ADA or Rehabilitation Act. The

Court will not dismiss Counts II and III on this ground. Plaintiff

alleges that Rusher was denied a long list of activities, programs,

and services, including education, programming, recreation,

exercise, and mental health treatment and services. Therefore,

Counts II and III state a claim even if access to human interaction

is not an activity, program, or service—an issue the Court need not

decide at this time.



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     Finally, the State Defendants assert that Plaintiff is not

entitled to punitive damages under the ADA or the Rehabilitation

Act. Plaintiff asserts that she does not seek punitive damages

under the ADA and Rehabilitation Act and, therefore, this portion of

the State Defendants’ motion is moot. In light of Plaintiff’s

clarification that she does not seek punitive damages under the

ADA and the Rehabilitation Act, the Court denies this portion of the

motion as moot.

                          V. CONCLUSION

     For the reasons stated, the Motion to Dismiss Counts II and III

of Plaintiff’s Complaint (d/e 15) filed by Defendants John R.

Baldwin, Bruce Rauner, Illinois Department of Corrections, and

State of Illinois is DENIED. These defendants shall file an amended

answer on or before August 20, 2018.

ENTERED: August 3, 2018

FOR THE COURT:
                             s/Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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